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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                          CHARLOTTESVILLE DIVISION


                                                            Action No: 3:17CV00072
   Elizabeth Sines, et al.                                  Date: June 4, 2021
   vs.                                                      Judge: Norman K. Moon
                                                            Court Reporter: Lisa Blair
   Jason Kessler, et al.
                                                            Deputy Clerk: Carmen Amos


    Plaintiff Attorney(s)                           Defendant Attorney(s)
    Roberta Kaplan                                  James Kolenich
    Michael Bloch                                   David Campbell
    Jessica Phillips                                Bryan Jones
    Karen Dunn
    Jonathan Kay
    Alan Levine
    Alexandra Conlon
    Emily Cole
    Samantha Strauss

                                                    Pro Se Defendants
                                                    Richard Spencer
                                                    Michael Heimbach


  PROCEEDINGS:

  Parties present via videoconference/Zoom for Status Conference regarding the jury trial in this
  matter, which is set to begin in October. The Court discusses its concerns with the following
  issues for this trial:

  1. Number of people in the courtroom – parties, attorneys, support staff.
  2. Courtroom & courthouse space / logistics re: number and size of room, room to
     accommodate the jury.
  3. Location of trial: Charlottesville vs. Lynchburg or Roanoke.
  4. Mediation with Magistrate Judge Hoppe re: narrowing issues and stipulating to undisputed
     facts.

  Responses and input discussed on the record by the parties. The Court will allow submissions
  from any party regarding these issues to be filed within 7 days. Submissions shall be limited to
  these issues.
                 Time in Court: 2:02 – 2:42 p.m. (40 minutes)
